
This cause came on to be heard upon the petition, answer, reply and an agreed statement of facts, and was argued by counsel. Relators allege that they filed with the respondents a petition, signed by more than 75% of the resident electors of the territory, requesting the transfer of a portion of the Union Township Rural School District, Miami county, to the Monroe Township Rural School District, Darke county. The requested transfer was refused, and relators pray that a writ of mandamus issue commanding such transfer by respondents, or in the alternative to show cause why the same should not be done.
Respondents in their answer pleaded that the transfer was refused for the reasons that there is no district known as Union Township Rural School District in Miami county, that they have no authority or jurisdiction because the petition requests the transfer of territory from one rural school district to another such district, and that prior to the presentation of the petition the respondents had submitted a plan of school district organization to the State Director of Education, pursuant to the School Foundation Act (Sections 7600-1, to 7600-9, General Code), which plan was approved before the petition for transfer was filed, and *507therefore the respondents are without power to make the transfer.
On consideration whereof, it is ordered and adjudged that the writ of mandamus be, and the same hereby is, denied on the ground that there exists no such school district as that named in the petition for transfer and that Section 4696, General Code, does not authorize the transfer of territory from one rural school district in one county to another rural school district in another county.

Writ denied.

Weygandt, C. J., Stephenson, Williams, Jones, Matthias, Day and Zimmerman, JJ., concur.
